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 Attorneys for Defendant
 Honeywell International Inc. f/k/a/ AlliedSignal Inc.,
 successor-in-interest to The Bendix Corporation

                           IN UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

 SALLY SYLVESTER, Individually and as
 Personal Representative of the Estate of JESSE            STIPULATION AND MOTION FOR
 LABRUM, Deceased, DIANE LARSEN,                             ORDER OF DISMISSAL WITH
                                                             PREJUDICE OF DEFENDANT
 CAROLYN DUTSON, DON LABRUM, GARY                         HONEYWELL INTERNATIONAL INC.
 LABRUM, DOYLE LABRUM, WAYNE
 LABRUM, and BRUCE LABRUM,                                  Case No. 2:18-cv-00470-HCM-CMR

          Plaintiffs,                                       District Judge: Howard C. Nielson, Jr.
 vs.
                                                             Magistrate Judge Cecilia M. Romero
 BLUE BIRD CORPORATION, et al.,

          Defendants.



         Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs Sally




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Sylvester, Individually and as Personal Representative of the Estate of Jesse Labrum; Diane

Larsen; Carolyn Dutson; Don Labrum; Gary Labrum; Doyle Labrum; Wayne Labrum; and Bruce

Labrum (“Plaintiffs”); and Defendant Honeywell International Inc., f/k/a AlliedSignal Inc., as

successor-in-interest to Allied Corporation, which in turn is successor-in-interest to The Bendix

Corporation; and Honeywell International Inc. as it relates to Honeywell, Inc. (collectively

herein, “Honeywell”); through their respective counsel, hereby stipulate and agree to the

dismissal of Plaintiffs’ claims against Honeywell International Inc., with prejudice, each party to

bear their own costs, and jointly move the Court for entry of an Order of Dismissal in accordance

with this Stipulation. A proposed Order of Dismissal with Prejudice of Honeywell International

Inc, approved as to form, is attached hereto as “Exhibit A.”

         This Stipulation and Motion for Dismissal applies only to Honeywell International Inc.

Plaintiffs expressly reserve all claims against all other defendants in this action.

 DATED: April 5, 2022.

                                    ACTION LAW LLC

                                    By: /s/ Sara E. Bouley
                                        Sara E. Bouley
                                        Attorney for Defendant
                                        Honeywell International Inc.


Approved as to form:


/s/Lawrence K. Holcomb
Lawrence K. Holcomb (Admitted Pro Hac Vice)
FLINT LAW FIRM
Attorneys for Plaintiffs
(Signed by filing attorney Sara E. Bouley with permission of attorney Lawrence K. Holcomb)

/s/ Sara E. Bouley
Sara E. Bouley

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                                   CERTIFICATE OF SERVICE

         I certify that on April 5, 2022, a true and correct copy of the foregoing STIPULATION

 AND MOTION FOR ORDER OF DISMISSAL WITH PREJUDICE OF DEFENDANT

 HONEYWELL INTERNATIONAL INC. was filed with the United States District Court for

 the District of Utah using the court’s CM/ECF electronic filing system, and notification of such

 filing was automatically served upon the registered users for this case at each user’s respective

 address on file with the court.



                                                     /s/Sara E. Bouley
                                                     Sara E. Bouley




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                       EXHIBIT A
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 Attorneys for Defendant
 Honeywell International Inc. f/k/a/ AlliedSignal Inc.,
 successor-in-interest to The Bendix Corporation


                          IN UNITED STATES DISTRICT COURT
                                  DISTRICT OF UTAH

 SALLY SYLVESTER, Individually and as
 Personal Representative of the Estate of JESSE            ORDER OF DISMISSAL WITH
 LABRUM, Deceased, DIANE LARSEN,                           PREJUDICE OF DEFENDANT
                                                          HONEYWELL INTERNATIONAL
 CAROLYN DUTSON, DON LABRUM, GARY                                    INC.
 LABRUM, DOYLE LABRUM, WAYNE
 LABRUM, and BRUCE LABRUM,                                Case No. 2:18-cv-00470-HCN-CMR

          Plaintiffs,                                     District Judge: Howard C. Nielson, Jr.
 vs.
                                                          Magistrate Judge Cecilia M. Romero
 BLUE BIRD CORPORATION, et al.,

          Defendants.




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         Plaintiffs Sally Sylvester, Individually and as Personal Representative of the Estate of

Jesse Labrum; Diane Larsen; Carolyn Dutson; Don Labrum; Gary Labrum; Doyle Labrum;

Wayne Labrum; and Bruce Labrum (“Plaintiffs”); and Defendant Honeywell International Inc.,

f/k/a AlliedSignal Inc., as successor-in-interest to Allied Corporation, which in turn is successor-

in-interest to The Bendix Corporation; and Honeywell International Inc. as it relates to

Honeywell, Inc. (collectively herein, “Honeywell”); through their respective counsel, have

stipulated and moved the Court for an Order Dismissing Defendant Honeywell International Inc.

from the above-captioned matter, with prejudice. The Court having reviewed the Stipulation and

Motion and finding good cause appearing,

         IT IS HEREBY ORDERED that all claims and causes of action alleged against

Defendant Honeywell International Inc. in the above-captioned matter shall be, and they are

hereby DISMISSED WITH PREJUDICE, each party to bear its own costs and attorneys’ fees.

         DATED this _____ day of April 2022.

                                                                    BY THE COURT:



                                                                    Judge Howard C. Nielson, Jr.
                                                                    United States District Court Judge

Approved as to form:


/s/Lawrence K. Holcomb
Lawrence K. Holcomb (Admitted Pro Hac Vice)
FLINT LAW FIRM
Attorneys for Plaintiffs
(Signed by filing attorney Sara E. Bouley with permission of attorney Lawrence K. Holcomb)

/s/ Sara E. Bouley
Sara E. Bouley

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